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          EXHIBIT A
                                                                                   Ronald W. Bur s
                                                                          Direct Dial: (972) 632-9009
                                                                      Email: rburns@burnsiplaw.com



                                          August 4, 2023
Via Email:                                                          [j ennaryanreal ty @gmai 1. com]


Jennifer Ryan
407 E Tyler St
Richardson, TX 75081


        Re: Circumstances Concerning Termination of Representation of Jennifer Ryan



To Whom It May Concern:

        On April 18, 2023 - while I was employed as an attorney at the law firm of Fresh IP, PLC
( F/rwi ) -1 filed a motion to withdraw as counsel for the plaintif s in JLR Global, LLC, et al. v.
Paypal Inc. (EDTX 4:22-cv-559) ( Lawsuit '). That motion requested termination of the
representation based upon professional considerations that required termination.

         When the representation was first commenced, plaintiffs agreed to pay any 3rd party fees
directly, with the understanding that the Firm would not advance any 3rd party fees or costs.

       When the Lawsuit was directed to arbitration, plaintiffs indicated that they would not be
able to pay any fees. The Firm indicated that it would not be able to advance any fees for
arbitration. Subsequently, communications between the plaintiffs and the Firm became
irreconcilable, and the motion to withdraw was filed.



                                                 Respectfully,
